           Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 1 of 7




                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION


AIR FORCE OFFICER, on behalf of herself              )
and all others similarly situated,                   )
                                                     )       Case No. 5:22-cv-00009-TES
                       Plaintiff,                    )
v.                                                   )
                                                     )
LLOYD J. AUSTIN, III, in his                         )
official capacity as Secretary of Defense;           )
FRANK KENDALL, III, in his                           )
official capacity as Secretary of the Air Force; and )
ROBERT I. MILLER, in his                             )
official capacity as Surgeon General of the          )
Air Force,                                           )
                                                     )
                       Defendants.                   )


                           DECLARATION OF AIR FORCE NCO

       Pursuant to 28 U.S.C. § 1746, I, Air Force NCO, under penalty of perjury declare as

follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am a non-commissioned officer (NCO) in the United States Air Force Reserves.

       3.      I have served my country in the United States Air Force for more than 20 years.

       4.      The military has rewarded me nine medals during these years, including two Air

Force Commendation Medals and one Meritorious Service Medal, along with numerous other

awards and decorations.

       5.      I have never been disciplined by the Air Force, nor has there ever been cause for

the Air Force to discipline me for any reason.

       6.      I currently serve in an administrative role for an Air Force military readiness

program, and I am based at Robins Air Force Base in Georgia.

                                                 1
         Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 2 of 7




       7.      After joining the Air Force in October 2000, I served on Active Duty before

transitioning to full-time Active Guard Reserve positions with the Air Force Reserves. I’ve been

deployed four times.

       8.      I have worked remotely at various times throughout my career, including during

much of the COVID-19 pandemic.

       9.      My Air Force career has been entirely in the interest of military readiness, unit

cohesion, good order, discipline, health, and safety.

       10.     I have served with distinction in duties that include being flight member and

supervisor in missions both stateside and overseas, as well as being a weapons instructor, and a

deployment manager.

       11.     Since the COVID-19 pandemic began, I have assiduously followed all COVID-19

related precautions, including masking, social distancing, and working remotely.

       12.     I have consistently and fully supported and sustained Defendants’ interest in

military readiness, unit cohesion, good order, discipline, health, and safety.

       13.     My current professional responsibilities do not involve personal engagement in

physical operations or require extremely close proximity with other service members at all times.

       14.     Indeed, during the COVID-19 pandemic, I worked almost exclusively from home

in a telework environment from approximately mid-2020 until mid-2021. I have since returned to

in-person work for two to three days per week, and just recently, I was ordered to return to a full

in-person, five-day work week with the rest of my co-workers.

       15.     In April 2021 I took a COVID-19 antibody test and tested positive for COVID-19

antibodies.




                                                  2
         Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 3 of 7




       16.     Seven months later, in November 2021, I took another COVID-19 antibody test

and again tested positive for COVID-19 antibodies.

       17.     I am a member of the Christian faith, and the authoritative texts for my faith

tradition are contained in the Holy Bible. My religious conscience is formed by biblical teachings,

the advice of religious leaders, Scripture, and prayer.

       18.     Based on these sources, I believe Christians are to treat their bodies as a holy

temple of God to glorify and Honor him, since the Bible teaches, “My body is not my own but

one that belongs to an Almighty God,” (1 Corinthians 6:19), and, “My body is a temple for God

and His Holy Spirit to dwell. I must maintain it . . . and take care not to damage it,” (1 Corinthians

3:16-17). Thus, I believe that submitting to mRNA vaccines violates this biblical mandate since it

introduces a novel substance of unknown long-term effects into my body that takes over the

body’s natural processes and is thus impure.

       19.     As a Christian, I also believe that all human life is sacred from the moment of

conception, and thus I oppose abortion and all its pernicious effects. I thus also oppose the

available COVID-19 vaccines because they were developed through use of or testing on aborted

fetal cell lines. The only reason I did not expressly raise this objection in my September 2021

request for religious exemption (attached as Exhibit 1) is because my chaplain told me not to.

       20.     I do not oppose all vaccines. I oppose the currently available COVID-19 vaccines

for religious reasons.

       21.     I am aware of the following military orders that purportedly require that I submit

to COVID-19 vaccination:

               a. Department of Defense’s August 24, 2021 Order (Ex. 1 to Doc. 2-2);

               b. Department of Air Force’s September 3, 2021 Order (Ex. 2 to Doc. 2-2);



                                                  3
        Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 4 of 7




               c. Department of Air Force’s September 21, 2021 Order (attached as Exhibit 5);

       22.     I am aware of AFI 48-110 (Ex. 7 to Doc. 2-2), an Air Force Instruction.

       23.     The Air Force provided me and other service members with a form religious

accommodation request (Ex. 9 to Doc. 2-2).

       24.     I timely sought, in writing, religious exemption from the Mandates and sought

accommodation (attached as Exhibit 1 (request submitted September 23, 2021) Exhibit 3 (appeal

submitted November 1, 2021), and Exhibit 3A (supplemental information submitted November

15, 2021)).

       25.     Defendants’ responses to my accommodation requests are attached as Exhibit 2

(initial denial received by me no earlier than October 28, 2021) and Exhibit 4 (final denial

received by me on January 7, 2022).

       26.     I am aware of reported information publicly available from the Air Force,

including https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-

march-29-2022/, relating to religious accommodation requests.

       27.     Based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I understand that the Air Force currently recognizes at least 1,102 medical

accommodations.

       28.     Based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I understand the Air Force currently recognizes at least 1,407 administrative

accommodations.




                                                 4
         Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 5 of 7




       29.      Based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I understand that at least 96.5% of Air Force service members have received COVID-19

vaccinations.

       30.      I am not aware of any military branch (including the Air Force, Navy, Army,

Marines, and Coast Guard) granting any religious accommodation requests to service members

not already slated for separation, and I’m aware that the Pentagon’s Inspector General is

investigating whether the military’s process for considering and denying religious

accommodation requests to COVID-19 vaccination complies with its own protocols.

https://www.military.com/daily-news/2022/03/02/pentagon-watchdog-investigate-militarys-

covid-19-exemption-process.html.

       31.      After receiving the final denial of my religious accommodation requests, I was

given the following three options: (1) take the vaccine; (2) early retirement; (3) or face military

discipline for disobeying the COVID-19 vaccine mandates. On January 12, 2022, I chose early

retirement, under duress, with an effective retirement date of no later than June 1, 2022. However,

I have been told that I have been placed in a “medical hold,” meaning that I cannot begin the

process of formal separation until an “evaluation” of my current health status is complete, which I

have been informed could take “a while.”

       32.      Until the putative effective date of my forced early retirement in June 2022, as a

military service member I am still permitted to work from home and on base and to perform my

normal work duties, even while unvaccinated, provided I abide by any applicable alternative

COVID-19 precautions.




                                                  5
            Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 6 of 7




       33.      Currently my work unit is understaffed and task-saturated, and I believe none of

the already limited personnel there is currently able or qualified to effectively take over my

position. In my opinion, this may be a significant negative impact on military readiness for

multiple years, which is especially dangerous to our national security at this war-torn time in the

world, and forcing competent and capable unvaccinated service members such as myself to

separate would exacerbate the problem.

       34.      As a service member in my position, I understand that service members with

approved medical accommodations are permitted to work in person, indefinitely, with no forced

early retirement or other adverse employment consequences.

       35.      If I had not been forced into early retirement in 2022, I understand I could have

retired in a later year with full active-duty benefits and privileges. I stand to lose several hundreds

of thousands of dollars in lost pay, not counting the value of lost benefits including medical

benefits.

       36.      It is more important to me to remain faithful to my Christian faith than to violate

my religiously formed conscience for the sake of work and compensation.

       37.      The Mandates have lowered my morale as a service member by forcing me to

choose between my faith and my livelihood. I personally know other Air Force service members

who have expressed to me that the Mandates have lowered their morale for the same reasons.

       38.      I have continued to maintain protocols for health and safety, and to my knowledge

I have not transmitted COVID-19 to others.

       39.      Based on Facebook comments that I am aware of related to the WMAZ and

WGXA news reports about Air Force Officer and this case (Docs. 48 and 49), and based on

numerous other public statements made by individuals in government or the media that are critical



                                                   6
        Case 5:22-cv-00009-TES Document 65-2 Filed 03/31/22 Page 7 of 7




of people not taking the COVID-19 vaccine, I am concerned about serious social stigmatization

and my personal safety and security.

       40.     I have talked with others in the military who expressed to me that they want to

speak out in opposition to the vaccine mandates but are afraid to do so.

       41.     The attached exhibits are redacted to remove some personal identifiers.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

March 30, 2022.



                                       /s/Air Force NCO
                                       Air Force NCO




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